B2500A (Form 2500A) (12/15)



                              pUnited States Bankruptcy Court
                              Western District Of New York
In re ROCHESTER DRUG CO-OPERATIVE, INC., )                  Case No. 20-20230 (PRW)
                                                  )
             Debtor                               )         Chapter 11
                                                  )
 Advisory Trust Group, LLC, as trustee of the RDC )
 LIQUIDATING TRUST,                               )
                                                  )
              Plaintiff,                          )         Adv. Proc. No. 22-_______________
              v.                                  )
                                                  )
ABBVIE US LLC,
                                                  )
             Defendant.                           )

                      SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
this summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this
summons, except that the United States and its offices and agencies shall file a motion or answer to the
complaint within 35 days.
              Address of the clerk: United States Bankruptcy Court
                                      Western District of New York
                                      100 State Street
                                      Rochester, NY 14614
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

               Name and Address of Plaintiff's Attorney:
                                         Bradford J. Sandler, Esq.
                                            Ilan D. Scharf, Esq.
                                         Jason S. Pomerantz, Esq.
                                    Pachulski Stang Ziehl & Jones LLP
                                       780 Third Avenue, 34th Floor
                                          New York, NY 10017

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.IF YOU
FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.



                                                                         (Clerk of the Bankruptcy Court)

       Date:                          By:                    (Deputy Clerk)
      Case 2-22-02001-PRW, Doc 1-3, Filed 02/03/22, Entered 02/03/22   11:15:51,
                                                                    American LegalNet, Inc.
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                           Description: Summons, Page 1 of 1
